w Case: 1:03-cv-O4502 Document #: 39 Filed: 12/03/03 Page F)f |5 EQE) #UA.

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF [LLIN@ISHAEL W- DOBBFNS

 

EAS:TE`RN DIV]Sl()N CLERR: H:S-. BlsTRleT cBuFIT
INSTALLATION SOFTWARE )
TECHNOLOGIES, INC. d/b/a )
CINOS§I;*(§§§Y[YII§§D SOFTWARE ) civil Action No. 03 C 4502
’ )
- - ) Hon. David H. Coar
Plamuff’ ) Presiding Judge
) Hon. Morton Denlow
v' ) _ Magistrate Judge
WISE soLUTIONs, INC., §
Defendant. ) ,
iv we .J=\'_., _=-
NoTlcE OF FILING 1133 ~ 313

TO: Michael J. Abemathy
Scott M. Mendel
Lisa A. Can'oll
Bell Boyd & Lloyd LLC
Three First National Plaza
Suite 33 00
Chicago, IL 60602

PLEASE TAKE NOTICE that on the 3rd day of Deoember, 2003, we filed with the Clerk
of the United States District Coult, Northern District of Illinois, Eastern Division, Plajnt:iff,
InstallShield’s Corrected Memorandum in Opposition to Defenda.nt Wisc Solutions, Inc.’s
Motion for Partial Summary Judgment, a copy of which is attached hereto.

 

One of the Attorneys for PIMW
Software Technologies, d/b/a InstallShield Sohware
Corporation

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CERTIFICATE OF SERVICE
I hereby certify that (1) I am an attorney admitted to appear before this Court and (2) I

caused true and correct copies of the foregoing Notice of Filing, Plaintiff InstallShield’s
Corrected Memorandum in Opposition to Defendant Wise Solutions, Inc.’s Motion for Partial
Sumrnary Judgment to be sent to the following individual:

Michael J;j Abenmrhy

Ben Boyd &lLl_oyd=LLc

ThreejFirst Narional Plaza

sune$sodil§;_`;
Chicago, IL 60602 `

by first class mail this 3rd day of December 2003.

 

One of the Attomeys r au/ltiff',
Installation Software Technologies, dfb/a
Installshield Software Corporation

CHIDOCSOZ, 610484.1

 

 

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rN THE UNITED s'rATEs DISTRICT CoURT l L E D`
FOR THE NoRTHERN DISTRICT 0F ILLINors - DEL.
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rNsTALLATIoN soFTwARE ) creaxf°:;E'bg-rnoaams
TECHNOLOGIES, INC. afb/a ) - mar couar
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_ ' ) _ No. 03 c 4502
v‘ )
) Judge Coar '~- -- ~‘ »
wrsE soLUrroNs, INC., ) ~» .. r. ._ _ .
- ) Magistrate Judge Denlow l; _,:_ 5 _ L,,r_ ZUU3
Defendant. ) _ ‘

PLmTIFF INSTALLSHIELD’S CORRECTED
MEMORANDUM IN OPPOSITION TO DEFENDANT WISE

SOLUTIONS, INC.’S MOTION FOR PARTIAL SUMMARV JUDGMENT

Plaintiff, Insta]lation Sofi'ware Technologies, lnc. dfb/a InstallShield Software
Corporation (hereinafter “InstallShield” , for its Memorandum in Opposition to Defendant Wise
Solutions, Inc.’s (hereinaiter “Wise”) Motion for Partial _Summary Judgment, states the
following: -

- l. INTRODUCTION

las the.sole basis for Wise’s motion for partial summary judgment as to Count IV of
InstallShield’s Veriiied Complaint, Wise argues that InstallShield’s trade secrets were not ‘The
subject of efforts that [were] reasonable under the circumstances to maintain [their] secrecy or
confidentiality,i’ as required by Section 2(d) of the Illinois Trade Secrets Act (“ITSA”), 765
ILCS 1065/l et seq. The crux of Wise’s summary judgment argument is that irrespective of the
nature and scope of InstallShield’s secrecy efforts, lnsta.llShield forfeited its trade secret

protection when it placed files containing the trade secrets at issue in the outgoing folder of its

ftp server, where.access to them could be obtained by typing in the password, “anonymous.”

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Wise’s summary judgment papers suffer from two glaring omissions, one procedural and
one substantive First, Wise nowhere cites Rockwell Graphics .S))stem_s, !nc.. v. DEV industries,
Inc., 925 F.2d 174 (7th Cir. 1991), even though Rackwell Graphics constitutes the controlling
procedural precedent on this summary judgment motion. Second, Wise nowhere cites a
computer password case, much less one granting summary judgment on the sole ground that use
of an unsophisticated computer password, in the context of otherwise elaborate security _
measures, renders the entire security scheme unreasonable.as a;matter of law under the I'l`SA.
Wise’s omissions are unsurprising: Rockwell 'Graphics setsari e>:rtraordinarily high summaryk
judgment standard for a defendant whose only argument is an attack on reasonable secrecy
measures, and everyone knows it is a federal crime to hack into a password-protected computer
system, no matter how weak or strong the passwords may be. “The maintenance of standards of
commercial ethics,” the very purpose of trade secret law, requires that Wise’s motion be denied.
Kewanee Oil Co. v. Bicron Corp., 416 U.S. 470, 481 (1974); Brunswz'ck Corp. v. Outboard
Marine Corp, 79 Ill.2d 475, 478, 404 N.E.2d 205, 207, 38 Ill. Dec. 781 (1980). j n

II. sTATEMENT 0F FACTS n

From_July 1, 2002 to June 23, 2003 defendant Wise repeatedly and systematically broke
into InstallShield’s ftp server on 837 occasionsl PSAMF, 1[1| 51'-56. Using the confidential _
usernames and passwords of two lnstallShield employees, Wise downloaded 706 files without
InstallShield’s knowledge or authorization PSAMF, 11 55. Also, without InstallShield’s
knowledge or authorization, Wise downloaded 197 additional files from InstallShield’s ftp server

using the usemarne “anonymous.” PSAMF, 11 55. Wise’s extraordinary misconduct is the subject

 

l As used herein, “PSAMF” refers to Plaintiff’s Statement of Additional- Material Facts submitted by
plaintiff pursuant to Local Rule 56.1_(b)(3)(B). For exa.mple, “PSAMF, 1111 51-56 refers to Paragraphs 51-
56 of Plaintiff’s Statement of Additional Material Facts. '

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of an ongoing criminal investigation by the Federal Bureau of Investigation and the United States
Attorney for the Northern District of Illinois.

Among the 903 files taken by Wise were four files containing InstallShield’s trade
secrets: (l) a file containing the names, addresses and contact information for approximately
103,000 lnstallShield customers (“the 103,000 Customer List”); (2) a file containing the names,
addresses and specific contact information of 6,000 customers interested in InstallShield’s
AdminStudr`o software product (“the 6,000 Customer List” ; (3) a file containing the concept
advertising copy and artwork for InstallShield’s advertising campaign, “Cast Your Net Far and

- Wide"; and (4) InstallShield’s beta software for its AdrninStudio 5.0 product PSAMF 111| 58, 62,
63, 67, 93, 97, 105, 120. n
III. ARGUMENT
n A. Controlling Seventh Circuit Precedeot

The Court of Appeals in Rockwell Graphr'cs squarely set forth the procedural standards

that govern the summary judgment motion before this Court:
But only in an extreme ease can what is a ‘reasonable’ precaution
be detemtined on a motion for summary judgment, because the
answer depends on a balancing of costs and benefits that will vary
from case to case and require estimation and measurement by

persons knowledgeable in the particular field of endeavor
involved. ' _

ill * l|¢

'I`here are contested factual issues here, bearing in mind that what
is reasonable is itself a fact for purposes of Rule 56 of the Civil
Rules. :

925 F.2d at 179-80, citing Coorer & Gell v. Har!marx Corp., 496 U.S. 384 (1990) and Mucha v.

King, 792 F.2d 602, 605 (7th Cir. 1986).

 

 

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The Court of Appeals has provided ample guidance as to when the reasonableness of
secrecy measures constitutes a question of fact. In Rockwell Graphr'cs, the Court of Appeals held
that stamping drawings with confidentiality legends, maintaining drawings in a vault, and using
sign-in/sign-out procedures constituted sufficient secrecy measures to withstand summary
judgment -» even though Rockwell did not limit copying of its drawings and did not insist that
copies be returned, resulting in “tens of thousands of copies of these drawings . .floating around
outside Rockwell’s vault, and many of these outside the company altogether.” 925 F.2d at 177.
Similarly, in Mangren Research and Developmenr Corp. v. Natr`onal Chemr`cal Co., Inc., 87 F.3d
937, 943 (7th Cir. 1996), the Court of Appeals, relying upon Rockwell, held that a question of
fact existed as to the reasonableness of secrecy efforts used to guard chemical ingredients for a
mold release formula - even though “a devious potential competitor” could have ascertained the
relevant ingredients by reading labels on chemicals delivered to the dock at plaintiffs premises.
More recently, in Learm'ng Curve Toys. lnc. v. PlayWood Toys. Inc., 342 F.3d 714, 725 (7th Cir.
2003), a trade secret/idea theft case, the Court of Appeals held that whether use of an oral
confidentiality agreement constituted reasonable secrecy measures was a question of fact for the
jury, emphasizing that the ITSA “does not require perfection.”

B. InstallShield Used Reasonable Secrecy Measures

InstallShield has employed aHirmative secrecy measures that have been deemed
sufficient in other cases. See RKI, Inc. v. Grimes, 177 F. Supp. 2d 859, 874-75 (N..D lll. 2001)
(f`rnding that disclosure to employees on a “need-to-know” basis, password-protected computer
databases and employee confidentiality agreements were sufficient to constitute reasonable
efforts to protect confidential customer information under the ITSA). For exarnple:

0 As a condition of employment, each of InstallShield’s employees agrees to
maintain in strict confidence InstallShield’s proprietary information, including

 

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“computer programs and databases client lists [and] marketing plans
and strategies,” and to “comply with and abide by security policies and
procedures implemented from time to time by_ InstallShield including...those
specifying measures to be taken to safeguard the confidentiality of inventions,
trade secrets, confidential knowledge and proprietary information of
lnst_allShield.” PSAMF, 1]‘\] 9-11.

v InstallShield employs an electronic keycard entry system and_monitors its
entrance to its premises through video surveillance PSAMF, 1111 4-8.

0 InstallShield’s tip server is placed in a DMZ, has a firewall to prevent access

_ by hackers, and regularly receives Microsoft “patches” to address

vulnerabilities to computer crime PSAMF, 1111 24-26 The local administrator

' password for the ftp server is known only by three lnstallShield employees
and is usually changed on a quarterly basis. PSAMF, 1111 21-22.

¢ InstallShield has never advertised or published on its public internet website,
www.installshield.com, the fact that it maintains an ftp server. PSAMF, 'l 27.

,_o. lnstallShield restricts access to its customer mailing lists, including the
103,000 Customer List and the 6,000 Customer List, to employees with a
“need to know,” and requires employees to maintain the mailing lists in
confidence PSAMF,111]68-69 lnstallShield’s customer list is not provided to
third parties either for sale or use PSAMF, 11 70. InstallShield had an
agreement with its direct mail printing vendor to maintain the 103,000
Customer List and the 6,000 Customer List in strict confidence PSAMF, 'l]
72. InstallShield’s direct mail printing vendor maintained InstallShield’s
mailing lists in strict confidence and requires its employees to maintain this
information in strict confidence PSAMF, 1111 73-75. InstallShield'uses
“decoys” ' in its mailing lists to monitor unauthorized use or disclosure
PSA.MI~`, 1§1] 85-90. `

» Both the 103,000 Customer Mailing List and the 6000 Customer Mailing List
` are generated from InstallShield’s CRM Tool. MSAMF 11 77. lnstallSlueld’s
CRM Tool prohibits access to customer information to those who do not have
authentication through InstallShield’s computer network and restricts access
to only authorized employees and contractors PMSAF, ‘,l 79. To assist in
restricting access to the CRM Tool to only the individuals and contractors
who have been authorized by InstallShield to do so, authorized employees and
contactors are issued confidential usernarnes and passwords for this purpose
PMSAF, ‘|| 80. Upon the termination of employment or contractor status of an
individual authorized to access the CRM Tool, the individual’s usemame and
password are cancelled PMSAF, 11 81. lnstallShield authorized only four
individuals in its organizational perform maintenance on its CRM Tool (only
three prior to March 31, 2003). PMSAF, ‘|1 83.

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Only members of InstallShield’s marketing department and senior
management were given access to the advertising concept, copy and artwork
for its “Cast Your Net Far and Wide” advertising campaign PSAMF, 1[ 98.
This information was not disclosed to outside parties, other than to the
publisher of the periodical in which the advertising appeared. PSAMF, 1[ 99.
InstallShield and the publisher had an understanding that lnstallShield’ s
advertising would be treated confidentially prior to publication PSAMF,11
99.

InstallShield’s Beta Software for AdminStudio 5.0 was provided to 32

_ customers and prospects each of which agreed to the terms of an End User

License Agreement preventing the recipient from demonstrating _or showing

- the Beta Software to third parties PSAMF 1[1[ 105,108. The Beta Software

was password-protected such that it could not be installed or operated without
a unique password disclosed to each of the 32 recipients PS H| 1111 106, .
107. lnstallShield carefully screens and performs a backgroun l:;:ehcck on
candidates for positions in InstallShield’s software development department
PSAMF,1|101. l ! l

The incoming folder of InstallShield’s ftp server is password-protected such
that no person may view the contents of or download files placed in the
incoming folder, unless that person has a confidential usemame and password
supplied by lnstallShield. PSAMF, 1| 28 Files placed rn the' rncomrng folder
are also password-protected; one could use a confidential usemame and
password supplied by lnstallShield, or altematively, one couldl lrse the
usemame, “anonymous. ” PSAMF,1I‘|129-30.l

InstallShield employees who are provided with access to files placed on
InstallShield’s ftp server to perform their employment responsibilities are '
provided with confidential usemames and passwords permitting such access
(PSAMF, 11 32). Upon termination of employment, an employee’s
confidential password is cancelled. (PSAMF, 11 34). InstallShield’s
passwords consist of computer-generated random series of characters and are
not ascertainable through speculation or guesswork. (PSAMF,` ;11 34).
InstallShield is not aware of any instance in which an employee disclosed his
or her confidential usemame and password to an external third party
(PSAMF,1[35).

InstallShield’ s employees were instructed not to place a file cpnt_aining
confidential or proprietary information in the outgoing folder without first
applying a password unique to the file PSAMF,1I 20 This policy is
contained rn InstallShield’s “FTP Server Administration Policy. ” PSAMF, 111
36-38. Employees read and sign InstallShield’s F'I'P Server Admini_stration
Policy before receiving passwords that afford access to files placed in
incoming and outgoing folders of the ftp server. PSAMF, 1| 36. As set forth
in InstallShield’s FTP Server Administration Policy, before placing

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¢ It was also InstallShield’s policy and practice to remove confidential
information placed by InstallShield in the outgoing folder of its ftp server after
the information wis obtained by a customer or vendor with authorized access to
the ftp server. (PSAMF, 11 46). It is also InstallShield’s practice to
periodically purge all of the files on its ftp server, regardless of whether such
files contain confidential infonnation. (PSAMF, 1[ 47). InstallShield
periodically reminds employees of this policy and practice both orally and in
writing. (PSAMF, 11 48). 7

o As also set forth in InstallShield’s FTP Server Administration Policy, before
placing information on the ftp server, every InstallShield employee is required
to (l) verify that the “virus checker has an UP-TO-DATE virus signature file
(r'.e., the date of the upload) and has found no contaminated files,” (2) he has
“uploaded all files to the correct server, in the correct designation with [his or
her] login Uscmarne and password,” (3) that he will “remove all files
uploaded in [his or her] Username in a timely fashion ...,” (4) that he would
“not allow any other person to use [his or her] access rights to the FTP
SERVER without the Systems’ Dept. consent,” that “the exact contents of all
files to be uploaded,” and (5) that he is responsible for complying with the
FTP Server Administration Policy and that "to do otherwise may compromise
[InstallShr`eld’s] file security and thereby jeopardize [InstallShr'eld’s]
competitive position in the industry.” PSAMF, 1[ 40-46.

It is undisputed that without_InstallShield’s knowledge or authorization, Wise acquired
access to and downloaded the 103,000 Customer List and InstallShield’s copying artwork for its
advertising campaign using the confidential usemame and password of InstallShield employee,
Jill Kawell. PSAMF ‘|]1[ 62, 97. It is also undisputed that Wise obtained access ton and
downloaded the 6,000 Customer List __and Wise’s Beta _Sofiware using the usemame,

“anonymous.”' PSAMF 1[1[ 67, 120. Of these files, only the Beta Software file had an additional

 

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layer of password protection as contemplated by 'lnstallShield’s FTP Server Administration
Policy. PSAMF1]1[_106, 107, 122.

C. InstallShield Did Not Have To Do More To Protect Against Criminal
Hackers

Wise’s position, in essence, is that InstallShield could have done more to fend off
criminal hackers like Wise Irnplicit in Wise’s view, of course, is that unsophisticated password
protection constitutes an invitation to hack into a computer system to steal business data for
competitive purposes But courts have taken a very different view of passwords, properly
recognizing that computer access restrictions signify a computer system owner’s warning to
others of its prdperty'rights. Cf Muick v. Glenayre Elecrronics, 280 F.3d 755 (7th Cir. 2002)
(company’s computer access and inspection policies placed employees on notice that they had no
legal rights with respect to company’s computer data). Indeed, courts have gone much further,
routinely holding that conduct such as Wise’s constitutes trespass, and criminal trespass at that.
See United States v. Seidlitz, 589 F.2d 152, 160 (4th Cir. 1978) (“ln this sense the use by the
witnesses below of the term "intruder" to describe dan unauthorized user of the computers is aptly
applied to the defendant, since by telephonic signal he in fact intruded or trespassed upon the
physical property of OSI as effectively as if he had broken into the Rockville facility and
instructed the computers from one of the terminals directly wired to the machines”); State Wide
PhotoCopy Corp. v. floin Financial Servs., Inc., 909 F. Supp. 137, 145 (S.D.N.Y. 1995)
(defining computer hackers as “electronic trespassers”); Hr{fty-Tel, lnc. v. Bezenek, 46 Cal.
App. 4th 1559, 1567, 54 Cal. Rpt:r. 2d 468, 473 (4th Dist. .1996) (equating computer hackers with
criminal trespassers). _Such holdings _are simply common sense: everyone today knows it is a
federal crime to knowingly obtain unauthorized access to a computer and to circumvent

password protection, which is precisely why Wise is presently under criminal investigation by

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the Federal Bureau of Investigation and the United States Attorney for the Northem District of
Illinois. See Computer Fraud and Abuse Act, 18 U.S.C. §§ 1030 et seq. and Digital Millennium
Copyright Act, 17 U.S.C. §§ 1201 et seq.

Any computer password, no matter how unsophisticated, constitutes constructive notice
that authorization isrequired before entry i_s permitted See Specht v. Netscape Commum`cations
Corp., 306 F.3d 17, 30, n.l_4 (2d Cir. 2002) (“Inquiry notice is actual notice of circumstances
sufficient to put a prudent man upon inquiry.”), quoting Cal Srare Auto. Ass 'n Inter-Ins. Bur_eau
v. Barrerr Gamg_es, rnc., 257 cat App. 2c1 71; 77,_ 64 cat Rpu. 699, 703 (cal. ct. App. 1967).
The reason the law requires reasonable secrecy measures is not to prevent criminal attacks, but
rather “to apprise employees of the claim of secrecy and to provide reasonable protection against
accidental or inadvertent disclosure to outsiders.” Jay Dratler, Jr., Intellectual Property Law:
Comrnercial. Crearr‘ve and Industrr'al Property, Vol. 1, § 4.03[3][2_\_]__(2003). As Professor Dra.tler
has explained in his leading treatise:

Although fewjudicial opinions elaborate these purposes, as
distinguished from the policies underlying trade secret protection
in general, three of them are readily apparent. First, the
“reasonable efforts” requirement seeks to insure that employees
and others are warned of the claim of secrecy, not just in
anticipation of a lawsuit, but as a matter of ongoing commercial
practice. In so doing, the “reasonable efforts” requirement helps
reduce the risk that trade secret claims will be used as pretexts to
suppress competition Second, it reinforces the requirement for
limited availability by making reasonably certain that the alleged
trade secret is unlikely to become generally available to
competitors through the owner’s lapse or default. Finally, the
“reasonable efforts” requirement recognizes the reasonable
expectation of others that an owner of secrets of significant
economic value will treat them as such. Thus, the law reduces the
risk that those who reasonably rely on the absence of apparent
protection will later be “sandbagged” by a lawsuit for
misappropriation In sum, the apparent purposes of the
“reasonable efforts” requirement are to warn the trade secret
owner’s own personnel, to reduce the risk of inadvertent or

 

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accidental disclosure to a reasonable level, and to warn others who
might have access to the trade secret and be tempted to use it
without authorization Accomplishing these modest purposes
hardly requires absolute secrecy, but it is a worthy goal that the
law should support

Id. at§ 4.03[3] (footnotes omitted).

Here, Wise combed InstallShield’s ftp server on a daily basis downloading all new files
that it had not already taken. PSAMF, 1111 49-53. For example, from October 2 to October 9,
2002, the week in which Wise downloaded InstallShield’s 103,000 Customer List and 6,000
Customer List, Wise combed InstallShield’s ftp server every single day except Saturday and _
Sunday. PSAMF, 1[1[ 51, 67. In just one Week., Wise downloaded 71 files using the confidential
usemame and password of Jill Kawell 64 of 71 times. PSAMF, 1[1[ 51, 67. Plainly, the problem
here is not a lack of notice to Wise. Rather, the problem here is that Wise used “electronic
espionage,” which constitutes “iniproper means” per se under Section 2(a) of the ITSA1 765
II.-.-CS 1065/2(a) (defining “improper means” as including “electronic espionage”). See also
Restatement (Third) of Unfair Competition, § 43, Cmt. (c) (trade secret acquired through
burglary or wire tapping constitutes improper means).

D. The Cases Relied Upon by Wise Are Inapposite

None of the cases relied_on by Wise granted summary judgment on the ground that an
unsophisticated computer password constituted inadequate secrecy measures as a matter of law.
Indeed, none of the cases relied upon by Wise involved computer passwords at all. Moreover,
none of the cases relied upon by Wise were decided on summary judgment under the exacting
Rockwell Graphics standards.

ln Jack.ron v. Hammer, 274 Ill. App. 3d 59, 653 N.E. 2d 809, 210 Ill. Dec. 614 (4th Dist.

1995), the appellate court affirmed summary judgment on the basis that the plaintiff purchaser

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did not actually acquire the trade secret information in question, and therefore he could not claim
misappropriation as to that information.- Lincoln Towers Insurance Agency v. Farrel!, 99 Ill.
App. 3d 353, 425 N.E 2d 1034, 54 Ill. Dec. 817 (lst Dist 1981), which pre-dates the ITSA,
contains little discussion of reasonable secrecy measures Indeed, Lincoln Towers was decided
on the basis that the plaintiffs customer list was generally known or least readily ascertainable `

Cincinnati T 001 Sreel Co. v. Breeds, 136 Ill. App. 3d 267, 482 N.E. 2d 1070, 90 Ill. Dec.
463 (2d Dist. 1985), which also pre-dates the ITSA, involved an interlocutory appeal from the
denial of a preliminary injunction The appellate court chose not to disturb the trial court's
. finding, made after the trial court assessed the credibility of the witnesses at the preliminary
injunction hearing, that the plaintiff did not bear its burden of proof on its trade secret claim.-
The appellate court noted that in determining whether a customer list is a trade secret under the
common law, it is significant “whether the information regarding the plaintiffs customers was
kept under lock and key; in other words, whether the information was treated as confidential and
secret by plaintiff.” Id. at 177. The court in Cincinnati Tool. however, also emphasized that i-‘the
- failure to keep [a trade secret] ‘under lock and key’ does not establish that the information was n
not confidential.” Id. at 177, citing Lawrer Inrernational, lnc. v. Carroll, 116 111. App. 3d 717,
451 N.E. 2d 1338, 72 Ill. Dec. 15 (lst Dist. 1983).

Finally, Wise’s reliance upon Reh°gz'ous Technology Center v. Lerma, 897 F. Supp. 260
(E.D. VA. 1995), is also misplaced In that case, the district court denied the plaintiffs motion
for a preliminary injunction on the basis that the plaintiff could not show the claimed trade
secrets were “not generally known.” Id. at 266. The court in Lerma did not decide whether the =
plaintist secrecy efforts were reasonable under the circumstances Rather, it found that the

alleged.trade secrets had been widely disseminated on the Intemet, that the alleged trade secrets

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were in possession of the Washington Post, that the alleged trade secrets were publicly available
in a federal court file in the Central District of Califomia, and that the defendant was not “the
only source of [the alleged trade secrets] on the Intemet.” Id. at 265-66.

VI. CONCLUSION

For these reasons, plaintiff requests that the Court deny defendant’s motion for partial

summary judgment

- Dated: November 21, 2003. n _
Respectfully submitted

One of the §ttomeys f§ Plaintiff,

Installation Software Technologies,
dfb/a lnstallshield Software Corporation

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John M. Murphy

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CHIDOCSOZ, 608538.2

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EXH BITS

 

